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                                   No. 6:13-cr-0013-1

                              United States of America,
                                      Plaintiff,
                                         v.
                               Leovardo Rodriguez,
                                     Defendant.


                                       ORDER

                 This criminal action was referred to United States Magis-
             trate Judge K. Nicole Mitchell pursuant to 28 U.S.C. §
             636(b)(3). Judge Mitchell held a final revocation hearing on
             September 17, 2020 and issued a report and recommendation
             as to the disposition of this matter. Doc. 476. Defendant
             waived his right to object to the report, agreed to the revoca-
             tion of his supervised release, agreed to the sentence below,
             and waived his right to be present for sentencing. Doc. 483.
                 Having reviewed the report, and being satisfied that it
             contains no clear error, the court adopts it as the opinion of
             the court. The court orders that defendant Leovardo Rodri-
             guez be sentenced to a period of 6 months of imprisonment
             with no supervised release to follow. The court further rec-
             ommends that defendant serve his sentence at FCI Texarkana,
             if available.

                               So ordered by the court on September 22, 2020.



                                               J. C AMPBELL B ARKER
                                             United States District Judge




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